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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                 )       CASE NO. 1:10CR387
                                          )
                                          )
                                          )       JUDGE SARA LIOI
                       PLAINTIFF,         )
vs.                                       )
                                          )       MEMORANDUM OPINION &
                                          )       ORDER
JAMES C. DIMORA, et al.,                  )
                                          )
                                          )
                      DEFENDANTS.         )

               Before the Court are defendant James C. Dimora‟s motion for a judgment

of acquittal (Doc. No. 874) and motion for a new trial (Doc. No. 875). The government

has responded in opposition to both motions. (Doc. Nos. 882, 902.) The Court will also

address Dimora‟s motion to modify the protective order (Doc. No. 782), which was also

opposed by the government (Doc. No. 859).



I. Background

               In 2007, the Federal Bureau of Investigation launched a large-scale probe

into potential public corruption in local government. Targeting political and business

activity in Cuyahoga County, Ohio, the investigation to date has resulted in over 60

arrests and numerous criminal charges. Most of those charged have entered into plea

agreements with the federal government, a few have gone to trial, and several others are

still awaiting trial. Dimora and his co-defendant, Michael Gabor, were among those

charged who elected to go to trial.
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                    Between 1998 and 2010, Dimora served as an elected county

commissioner for Cuyahoga County. It was the government‟s theory that he and Frank

Russo, who served for much of this same period as county auditor, orchestrated a

conspiracy whereby the two men would benefit themselves, their co-conspirators, and

their designees, by using the power and authority of their public offices to elicit monetary

and in-kind bribes in exchange for public contracts, employment with the county, and

other special government benefits.

                    At all times relevant to the federal investigation, Gabor was employed by

the Cuyahoga County Auditor‟s Office. Evidence presented at trial demonstrated that

Gabor used his long-standing relationship with Dimora to secure work in the auditor‟s

office under Russo, and paid Russo a fee of $5,000 for his position in the Department of

Weights and Measures.

                    By the Third Superseding Indictment,1 Dimora was charged, along with

Gabor, in Count 1 with RICO conspiracy. He and Gabor were also charged with

conspiracy to commit bribery concerning programs receiving federal funds, Hobbs Act

conspiracy, and conspiracy to obstruct justice. Dimora was separately charged with

conspiracy to commit mail fraud and honest services mail fraud; bribery concerning

programs receiving federal funds; substantive Hobbs Act violations; conspiracy to

commit wire fraud and honest services wire fraud; destruction, alteration or falsification

of records; mail fraud and honest services mail fraud; and making false statements on

income tax returns.



1
    All indictment references are to the Third Superseding Indictment. (Doc. No. 444.)
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                On March 9, 2012, after a 37 day jury trial, the jury returned guilty

verdicts against Dimora as to 33 of 34 counts in which he was charged. He was acquitted

by the jury on one count. The charges of which Dimora was found guilty included: RICO

conspiracy; conspiracy to commit mail and wire fraud and honest services mail and wire

fraud; Hobbs Act conspiracy and Hobbs Act extortion; bribery concerning programs

receiving federal funds; tax fraud; obstruction of justice; and destruction of records.

(Dimora Verdicts, Doc. No. 738.) Dimora‟s co-defendant, Michael D. Gabor, was found

guilty by the jury on seven counts charging similar fraud and conspiracy-related offenses.

He, too, was acquitted by the jury on one count. (Gabor Verdicts, Doc. No. 739.)

                In his motion for judgment of acquittal, brought under Rule 29 of the

Federal Rules of Criminal Procedure, Dimora requests that the Court grant a judgment of

acquittal on all counts of which he was convicted on the ground that the evidence was

insufficient to support the verdicts. In the alternative, and with respect to his Rule 33(a)

motion, Dimora argues that he is entitled to a new trial because the verdicts are against

the manifest weight of the evidence, and that the interests of justice otherwise require a

new trial.



II. Standards

                If the defendant moves for a judgment of acquittal after the government

concludes its case, the Court “must enter a judgment of acquittal of any offense for which

the evidence is insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). “The relevant

inquiry is whether, „viewing the evidence in the light most favorable to the prosecution,

any rational trier of fact could have found the essential elements of the crime beyond a
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reasonable doubt.‟ ” United States v. Fisher, 648 F.3d 442, 450 (6th Cir. 2011) (quoting

Jackson v. Virginia, 443 U.S. 307, 319 (1979) (emphasis in original)). “Under the

Jackson v. Virginia standard, a reviewing court does „not reweigh the evidence, re-

evaluate the credibility of witnesses, or substitute [its] judgment for that of the jury.‟ ” Id.

(quoting Brown v. Konteh, 567 F.3d 191, 205 (6th Cir. 2009)). “ „Substantial and

competent circumstantial evidence by itself may support a verdict and need not remove

every reasonable hypothesis except that of guilt.‟ ” Id. (quoting United States v. Lee, 359

F.3d 412, 418 (6th Cir. 2004)).

               A motion for a new trial is governed by Rule 33 of the Federal Rules of

Criminal Procedure, which provides that the court may “vacate any judgment and grant a

new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a). “The paradigmatic

use of a Rule 33 motion is to seek a new trial on the ground that „the [jury‟s] verdict was

against the manifest weight of the evidence.‟ ” United States v. Munoz, 605 F.3d 359, 373

(6th Cir. 2010) (quoting United States v. Crumb, 187 F. App‟x 532, 536 (6th Cir. 2006)).

“Generally, such motions are granted only „in the extraordinary circumstance where the

evidence preponderates heavily against the verdict.‟ ” United States v. Graham, 125 F.

App‟x 624, 628 (6th Cir. 2005) (quoting United States v. Turner, 490 F. Supp. 583, 593

(E.D. Mich. 1979)). Under this type of challenge, the district judge may act as a

“thirteenth juror,” assessing the credibility of witnesses and the weight of the evidence.

United States v. Lutz, 154 F.3d 581, 589 (6th Cir. 1998).

               Thus, while Rule 29(c) and Rule 33(a) may deal with similar issues, the

two rules are governed by different standards of review. When assessing a motion for

judgment of acquittal, pursuant to Rule 29(c), a court is required to approach the evidence
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from a standpoint most favorable to the government, and to assume the truth of the

evidence offered by the prosecution. With a Rule 33(a) motion for new trial on the

ground that the verdict is against the weight of the evidence, the power of a court is much

broader because a court may weigh the evidence and consider the credibility of the

witnesses. See Turner, 490 F. Supp. at 593 (citing 2 Charles Alan Wright & Arthur R.

Miller, Federal Practice and Procedure § 553 (3d ed. 2004)).

               Rule 33‟s “interest of justice” standard also “allows the grant of a new

trial where substantial legal error has occurred.” Munoz, 605 F.3d at 373. This includes

“any error of sufficient magnitude to require reversal on appeal.” Id. (quoting United

States v. Wall, 389 F.3d 457, 474 (5th Cir. 2004)). The trial court does not assume the

role of the “thirteenth juror” for purposes of this type of challenge. Id. at 373 n.9.

Because defendant Dimora relies on both the “against the weight of the evidence” and the

“substantial legal error” theories in his motion for a new trial, the Court shall apply the

standard applicable to each type of argument advanced.



III. Discussion

       A. Dimora’s Motion for a Judgment of Acquittal

               At the conclusion of the government‟s case, both defendants moved for a

judgment of acquittal, and the Court denied these motions for reasons stated on the

record. Dimora‟s present Rule 29 motion is a renewal of his previous motion, and the

Court incorporates by reference its prior findings and conclusions set forth on the record.

Additionally, to the extent that Dimora‟s motion attempts to incorporate the arguments


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made by co-defendant Gabor in support of his motion for judgment of acquittal, the Court

incorporates its ruling on Gabor‟s post-trial motion.2 (See Doc. No. 923.)

                 The Court finds it necessary, however, to write separately on one issue

previously raised by defendant Dimora. In a pretrial motion (Doc. No. 414.) , Dimora

sought the dismissal of seven of the counts against him charging conspiracy to violate the

Hobbs Act, 18 U.S.C. § 1951, on the ground that these counts were brought in violation

of the Sixth Circuit‟s decision in United States v. Brock, 501 F.3d 762 (6th Cir. 2007). In

an opinion issued October 28, 2011, the Court denied Dimora‟s motion to dismiss those

counts, stating that a proper analysis of the Brock issue could not be conducted until after

the presentation of evidence at trial. (Doc. No. 530 at 7-8, Page ID # 18785-86.)

                 In the October 28 opinion, the Court set forth a detailed analysis of the

relevant holding in Brock as well as in United States v. Gray, 521 F.3d 514 (6th Cir.

2008)—a case which discussed and applied Brock. It is unnecessary to embark on a

second all-out explication of those cases here. But a brief summary of them and of this

Court‟s previous conclusions as to the application of Brock and Gray is appropriate.

                 In Brock, the Sixth Circuit reversed two brothers‟ convictions for

conspiracy to extort under the Hobbs Act in part because the “property from another”

requirement found in that statute was not met. The Hobbs Act provides that

         Whoever in any way or degree obstructs, delays, or affects commerce or
         the movement of any article or commodity in commerce, by . . . extortion
         or attempts or conspires so to do, or commits or threatens physical
         violence to any person or property in furtherance of a plan or purpose to

2
 In support of his Rule 29 motion, Dimora also incorporates by reference various pre-trial motions. (See
Doc. Nos. 414, 415, 445, 560, 568.) The Court hereby refers to, and incorporates by reference, its rulings
on these pre-trial motions.

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       do anything in violation of this section shall be fined under this title or
       imprisoned not more than twenty years, or both.

18 U.S.C. § 1951(a). The act goes on to define extortion as “the obtaining of property

from another, with his consent, induced by wrongful use of actual or threatened force,

violence, or fear, or under color of official right.” 18 U.S.C. § 1951(b)(2) (emphasis

added). The court in Brock concluded that the “property from another” requirement was

not met in that case because the purportedly extorted funds had come either from the

defendants themselves or from “their own company.” Brock, 501 F.3d at 767. “To be

covered by the [Hobbs Act extortion provision],” the Sixth Circuit held, “the alleged

conspirators . . . must have formed an agreement to obtain „property from another,‟

which is to say, formed an agreement to obtain property from someone outside the

conspiracy.” Id.

               In its prior opinion discussing Brock, this Court found that there were two

main conclusions to be drawn from the Brock court‟s discussion of the “property from

another” requirement. First, “the ties between an individual conspirator and a business

controlled or owned by that conspirator can be so close as to make the individual and the

business indistinguishable for purposes of the „property from another‟ Hobbs Act

conspiracy requirement.” (Doc. No. 530 at 4, Page ID # 18782.) Second, this Court also

concluded, based on the Sixth Circuit‟s discussion in its Brock opinion of United States

v. Spitler, 800 F.2d 1267 (4th Cir. 1986), that “an individual conspirator‟s status as an

employee, even a high-ranking employee, is not by itself enough to „merge‟ the

individual with the business for purposes of the „property from another‟ requirement.”

(Id.) The Gray decision, this Court found, reinforced these two broad principles. In that

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case, the court reaffirmed the Brock principle that the “property from another”

requirement is only met when the defendant attempts to extort property from “an

unrelated entity outside the conspiracy.” Gray, 521 F.3d at 540. At the same time, the

court in Gray determined that the “unrelated entity” requirement was met where the

Honeywell Corporation was the victim of the extortion conspiracy and one of its vice

presidents was a conspirator, thus conforming with the Brock panel‟s Spitler analysis. Id.

at 536-39.

               It is these principles that the Court must apply in determining whether to

dismiss any or all of the Hobbs Act conspiracy counts Dimora challenges. Based upon

the evidence submitted at trial, the Court has determined that counts 3, 12, 14, 22, 24, and

26 do not warrant dismissal under Brock. In all of these counts, the Dimora co-

conspirators were merely officers, employees, or part owners of the extorted entities. In

none of these Counts could it be said, for purposes of Brock, that, in reference to the co-

conspirators, the entities were “their own.” Cf. Brock, 501 F.3d at 767. These co-

conspirators were aiding in the extortion of things of value not from themselves but from

separate entities with which they merely had an affiliation. They did not exercise

complete control and hold complete ownership.

               Count 10 is a different story. On that count, Dimora was convicted of

conspiring with John Valentin to extort Salva Stone Design, Inc. Valentin is associated in

some way with Salva Stone, a business that fabricates and installs granite countertops.

Dimora received free granite countertops from Salva Stone in exchange for political

favors for Valentin. At trial, the government produced evidence demonstrating that Salva

Stone was a “corporation for profit” incorporated in Ohio. (Gov. Exs. 1035, 1036.) Yet
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the government failed to adduce any evidence indicating who owned Salva Stone beyond

Valentin‟s own testimony that he was the “[s]elf proprietor [sic]” of the business, which

suggests that he might be the sole shareholder.3 (Doc. No. 702 at 5, Page ID # 14228.)

                 In Brock, the Brock brothers ran a bail bond business. As this Court has

previously noted, the court in Brock did not “discuss the legal and practical status of

Brock Bonding (e.g., whether Brock Bonding was incorporated, whether any individuals

other than the Brocks had an ownership interest in the business, or whether the business

employed anyone in addition to the two Brock brothers)[.]” (Doc. No. 530 at 4, Page ID

# 18782.) Since the Brock opinion is bereft of details that might give guidance as to what

traits an entity must or must not possess in order to be considered “outside the

conspiracy” for purposes of a charge of conspiracy to commit Hobbs Act extortion, it is

difficult for this Court to determine whether the nature of the relationship between

Valentin and Salva Stone was sufficiently close (i.e., sufficiently similar to the

relationship between the Brocks and Brock Bonding) to bar conviction here. In short, it is

hard to tell whether Valentin and Salva Stone are simply too closely related to permit this

conspiracy charge to stand.

                 Despite the ambiguities left unresolved by Brock and Gray, however, the

Court concludes that Salva Stone is not an entity “outside the conspiracy” for purposes of

3
 Valentin also indicated in his testimony that Salva Stone was not incorporated:
        Q. So your business is called Salva Stone Design, is that correct?
        A. Correct.
        Q. And it‟s a corporation?
        A. No, it‟s not.
        Q. What is it?
        A. It‟s not. It‟s not a corporation. Self-proprietor.
(Doc. No. 702 at 5, Page ID # 14228.) But this statement seems to have been the product of a layman
misunderstanding the legal concept of incorporation. Similarly, his “[s]elf proprietor” characterization
seems to have been made to indicate that he was the sole owner of the company, rather than that the
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Brock analysis. As such, Dimora is entitled to a judgment of acquittal on Count 10.

Though Salva Stone is incorporated, and therefore has a legal existence separate from

Valentin, the Brock opinion gives no indication that incorporation alone weighs against a

finding that a co-conspirator and his related entity are separate for purposes of

conspiracy-to-extort analysis. The same can be said as to whether the entity has

employees who are not members of the conspiracy. But what we know is relevant here is

whether the entity can be said to be Valentin‟s “own company.” Cf. Brock, 501 F.3d at

767. Again, the only evidence offered as to who owns and controls Salva Stone is

Valentin‟s testimony that he was the “[s]elf proprietor” of the company. Beyond that, the

government offered no evidence that any other person held an ownership interest in the

company or that anyone else exercised any form of control over it. It short, it offered no

evidence to clearly distinguish the relationship between Valentin and Salva Stone from

the relationship between the Brocks and their company.

                  The consent requirement found in the Hobbs Act definition of extortion

also creates a problem for the government here. See 18 U.S.C. § 1951(b)(2) (defining

extortion as the obtaining of property from another, with his consent . . .” (emphasis

added)). For, given the absence of any evidence indicating Valentin had anything less

than complete control over Salva Stone, how can it be said that Valentin conspired with

Dimora to obtain his own consent to provide free countertops to Dimora via Salva Stone?

Cf. Brock, 501 F.3d at 767 (“And how could it be said that the Brocks conspired with [the

public official] to obtain their consent to give, say, „10 $100 bills‟ to [that official],

money which came from their own pockets or at most from their own company, Brock


business had the legal status of a sole proprietorship.
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Bonding?” (internal citation omitted)). Salva Stone, though it existed as a separate legal

entity, nevertheless appears to be an asset controlled and owned completely by Valentin.

                  For these reasons, Dimora‟s motion for a judgment of acquittal on Count

10 is granted.

                  With respect to the remaining counts of conviction, the Court concludes

that the evidence, when viewed in a light most favorable to the government, was

sufficient for a rational juror to have found the essential elements of the charged crimes

beyond a reasonable doubt. For these reasons, Dimora‟s motion for a judgment of

acquittal on Counts 1-9, 11-29 and 34-37 of the indictment is denied. In light of the

Court‟s ruling on Count 10, the remainder of this opinion will address Dimora‟s

arguments only as they apply to the jury‟s findings of guilt on Counts 1-9, 11-29 and 34-

37.




         B. Dimora’s Motion for a New Trial

                  Dimora also seeks a new trial on all counts for which he was convicted on

the ground that the interests of justice necessitate such. In support of his motion, Dimora

incorporates by reference the arguments set forth in his pretrial motions, his objections at

trial, and his motions for a mistrial.4 These motions and arguments were addressed in


4
  Dimora also attempts (without explanation or elaboration) to rely upon the arguments advanced by Gabor
in his post-trial motions. While the Court does not believe that Gabor‟s fact specific arguments are relevant
to Dimora, the Court finds that Gabor‟s arguments no more warrant the granting of a new trial for Mr.
Dimora than they did for Mr. Gabor.

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pretrial written orders and rulings on the record at trial, and the Court incorporates by

reference these orders and rulings. Dimora also, however, highlights several arguments

that he believes support his request for a new trial. The Court will address each argument

in turn.

                    1. The Convictions were not Against the Manifest Weight of the
                       Evidence

                    Count 9 of the indictment charged Dimora with conspiracy to commit mail

fraud and honest services mail fraud in connection with his efforts to obtain employment

for Gina Coppers. Counts 11-13 and Counts 26-27 charged Dimora with Hobbs Act

conspiracy and substantive Hobbs Act violations relating to Dimora‟s solicitation and

receipt of things of value from contractors in exchange for official actions. Dimora argues

that the jury‟s guilty verdicts on these counts were against the manifest weight of the

evidence.

                    Under 18 U.S.C. § 371, it is illegal for “two or more persons [to] conspire

either to commit any offense against the United States, or to defraud the United States, or

any agency thereof in any manner or for any purpose . . . .” The government may

establish the existence of a conspiracy if it can prove, beyond a reasonable doubt: (1) the

existence of an agreement to violate the law; (2) knowledge and intent to join the

conspiracy; (3) and an overt act constituting actual participation in the conspiracy. 5 See

United States v. Hughes, 505 F.3d 578, 594 (6th Cir. 2007).

                    “To prove that a conspiracy existed, the government need not show a

formal written agreement.” Fisher, 648 F.3d at 450 (citing United States v. Crossley, 224


5
    Hobbs Act conspiracy is governed by 18 U.S.C. § 1951 and does not require an overt act.
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F.3d 847, 856 (6th Cir. 2000)). “A showing of „tacit or mutual understanding among the

parties‟ is sufficient.” Id. (quoting Crossley, 224 F.3d at 856). “Likewise, direct evidence

of the conspiracy is not necessary. It is enough to present „circumstantial evidence which

a reasonable person could interpret as showing participation in a common plan . . . .‟ ”

United States v. Hunt, 521 F.3d 636, 647 (6th Cir. 2008) (quoting Crossley, 224 F.3d at

856); see United States v. Walls, 293 F.3d 959, 967 (6th Cir. 2002) (A conspiracy may be

inferred from “circumstantial evidence which may reasonably be interpreted as

participation in a common plan.” (internal citations omitted)).



                       a. The Contractor Schemes

               The essential elements of the crime of Hobbs Act extortion are, for

purposes of this indictment: (1) that the individual obtained or attempted to obtain

property; (2) that he did so knowingly by extortion under color of official right; (3) that

the property was given with the giver‟s consent; and (4) that in so acting, interstate or

foreign commerce was obstructed, delayed or affected, would have been affected, or had

the potential to be affected in any way or degree. See Evans v. United States, 504 U.S.

255, 268 (1992); United States v. Gray, 521 F.3d 514, 533-34 (6th Cir. 2008). Thus, in

order for the jury to have convicted Dimora of conspiracy to commit Hobbs Act

violations, the government would have had to prove, beyond a reasonable doubt, that: (1)

two or more persons conspired, or agreed, to commit the substantive crime of Hobbs Act

extortion; and (2) Dimora knowingly and voluntarily joined the conspiracy.




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                 Dimora suggests that the evidence supporting the schemes involving John

Valentin (Count 11),6 Nicholas Zavarella (Counts 12 and 13), and Charles Randazzo

(Counts 26 and 27) was legally deficient because it established nothing more than that

“anything of value given to Mr. Dimora was done so, at best, only with a generalized

hope of a future favor . . . . ” (Doc. No. 875, Page ID # 18160.) Citing United States v.

Whitfield, 590 F.3d 325, 350 (5th Cir. 2009), Dimora contends that a “generalized hope

or expectation of ultimate benefit” cannot support the finding of the necessary quid pro

quo agreement required for bribery and extortion. (See Doc. No. 875 at 4, Page ID

# 18161.).

                 However, “the government does not have to prove an explicit promise to

perform a particular act made at the time of payment. Instead, it is sufficient if the public

official understands that he or she is expected as a result of the payment to exercise

particular kinds of influence—i.e., on behalf of the payor—as specific opportunities




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  Count 10 also involved Valentin‟s company, Salva Stone. Because the Court has already determined that
defendant Dimora is entitled to a judgment of acquittal on Count 10, the only charge involving Valentin
that will be addressed herein is the charge of Hobbs Act extortion set forth in Count 11.
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arose.” United States v. Ganim, 510 F.3d 134, 144 (2d Cir. 2007) (Sotomayor, J.)

(internal quotation and citation omitted, and cited with favor by Skilling v. United States,

130 S. Ct. 2896, 2934 (2010)). As the court in Whitfield explained:

        while noting that the „generalized hope or expectation of ultimate benefit
        on the part of the donor does not constitute a bribe,‟ the Fourth Circuit has
        observed that „the government need not show that the defendant intended
        for his payments to be tied to specific official acts . . . . [A]ll that must be
        shown is that the payments were made with the intent of securing a
        specific type of official action or favor in return. For example, payments
        may be made with the intent to retain the official‟s services on an „as
        needed‟ basis, so that whenever the opportunity presents itself the official
        will take specific action on the payor‟s behalf. This sort of „I‟ll scratch
        your back if you scratch mine‟ arrangement constitutes bribery because
        the payor made payments with the intent to exchange them for specific
        official action.

590 F.3d at 350 (internal citations omitted, emphasis in original). Thus, “it is sufficient if

the public official understood that he or she was expected to exercise some influence on

the payor‟s behalf as opportunities arose.” United States v. Abbey, 560 F.3d 513, 518 (6th

Cir. 2009) (citations omitted) (rejecting the argument that the benefits received by the

public official must have some “explicit, direct link with a promise to perform a

particular, identifiable act when the illegal gift is given to the official”).

                The evidence offered at trial demonstrated that Dimora enjoyed a

relationship with several contractors wherein they provided him with things of value in

exchange for his willingness to exercise his influence as opportunities arose. Valentin

testified that he did not charge Dimora for the thousands of dollars of granite his

company installed in the Commissioner‟s home because he and Dimora had a “mutual

agreement” that “if I need some help from him I can get some favors.” (Doc. No. 702 at

17, Page ID # 14240.) Similarly, in explaining why he never sent Dimora an invoice for

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the granite, Valentin testified that “[a]gain, I considered it like a favor that I did to [sic]

him in expecting in the future some favors for him, too.”7 (Id. at 23, Page ID # 14246.)

                  According to Valentin, there did come a time when he needed a “favor”

from Dimora. In 2007, Valentin asked Dimora for his assistance in securing a visa for a

friend to permit him to travel to the United States from Romania. Dimora responded by

writing a letter to Senator George Voinovich requesting that he take action to expedite the

visa application process. (See May 3, 2007 letter from Senator Voinovich, Gov. Ex. 1002

(noting Dimora‟s request).) Dimora‟s efforts to assist Valentin in this matter corroborate

Valentin‟s understanding of their “mutual relationship” as one where Dimora‟s official

services were retained on an “as needed” basis.

                  Dimora had a similar relationship with Charlie Randazzo, a securities

broker, who testified that he gave numerous things of value to Dimora and Russo in

exchange for their influence and assistance. Randazzo owned a company that provided

insurance and retirement planning programs for public entities, and testified that in 2002

he was experiencing difficulty in getting his foot in the door with various government

entities, including Cuyahoga County. He testified that he supplied Dimora with things of

value—including a tiki bar, food, drinks, and meals in restaurants—because Dimora

(along with Russo) helped with “opening doors, getting access to, you know, places that I

had a chance to do some business.” (Doc. No. 710 at 7-30, Page ID # 14996-15019; Gov.

Exs. 1021, 2626, 2627.) In return for these “gifts,” he expected “an open line of


7
  Valentin, for whom English was a second language, also testified that “I gave him free granite because,
like I said, I was thinking, if I make him a favor, I‟m going to get a favor back in the future. If I have a
problem, I can have a door open to him to ask him for help if I need help.” (Id. at 33, Page ID # 14256.)


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communication. So if I needed help. I could ask.” (Id. at 31, Page ID # 15020.) At trial,

Randazzo explained that Russo and Dimora were the “centers of influence” for the

county (Id. at 30, Page ID # 15019), and that it was of considerable value to have

immediate access to such powerful public officials.8 (Id. at 8, 53, Page ID # 14997,

15042.).

                 These sentiments were echoed by Nicholas Zavarella, a contractor who

testified that he performed free masonry work at Dimora‟s residence between 2002 and

2008. (Doc. No. 708 at 6-15, Page ID # 14910-19; Gov. Exs. 1221, 1222.) Zavarella

testified that Dimora was “a friend and a political official, and I figured that if I could

help him, I‟m sure he could help me.” (Doc. No. 709 at 36, Page ID # 14940.) In

exchange for improvements made to the Dimora residence, Zavarella asked for Dimora‟s

help in getting Zavarella‟s daughter a position with the county, and, later, with obtaining

a teaching position. (Id. at 36-38, Page ID # 14940-42.) He also asked Dimora to

intercede on his behalf on a county project for which Zavarella‟s company was serving as

a subcontractor. (Id. at 40, Page ID # 14944.).

                 To be sure, Zavarella also testified that he was friends with Dimora, and

that he had first sought to exploit Dimora‟s influence as commissioner before he had

provided any free masonry work. (Id. at 36-51, Page ID # 14940-55.) Indeed, evidence at

trial showed that all three contractors, to varying degrees, considered Dimora to be a

friend. Still, the evidence demonstrated that it was not friendship alone that motivated the



8
  Like Valentin, Randazzo took advantage of this arrangement. He testified that Dimora arranged for
meetings with the Mayor of Beachwood, and assisted Randazzo in his efforts to earn the business of the
county sewer district. (Doc. No. 710 at 23, 26-27, Page ID # 15012, 15015-16.)

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exchange of things of value for political favors. The testimony of Valentin, Randazzo,

and Zavarella, together with Dimora‟s “as needed” official actions, supported the jury‟s

determination that Dimora illegally received things of value in exchange for official acts.9

See Anderson v. United States, 417 U.S. 211, 226 (1974) (“A single conspiracy may have

several purposes, but if one of them—whether primary or secondary—be the violation of

a federal law, the conspiracy is unlawful under federal law.”); United States v.

Woodward, 149 F.3d 46, 71 (1st Cir. 1998) (A defendant may be prosecuted for fraud if

he has a dual intent, “i.e., if he is found to have intended both a lawful and an unlawful

purpose to some degree.”); see also United States v. Coyne, 4 F.3d 100, 113 (2d Cir.

1993) (on bribery and extortion counts, jury charge stating that “defendant accepted or

solicited the thing of value, at least in part, for or because of his conduct or intending to

be influenced in connection with any business or transaction of [the] County” was

appropriate in light of the defendant‟s argument that he was motivated by friendship).

                 The Court had the opportunity to observe Valentin, Zavarella, and

Randazzo testify a trial. The Court found the testimony of these witnesses credible,

especially in light of the fact that the testimony was supported by documents and records.

Moreover, the fact that each witness provided similar testimony on the nature and

mechanics of the relationship with Dimora was compelling evidence that Dimora

conspired to, and did, extort things of value in exchange for official acts. The jury‟s

decision was not against the manifest weight of the evidence. This is not “the


9
 Valentin and Zavarella both testified that, while they never had discussions with Dimora about payment
contemporaneously with the performance of the work done on Dimora‟s residence, Dimora paid by check a
small portion of the cost of the projects after Pumper was approached by the FBI on May 23, 2008. (Doc.
No. 702 at 30, Page ID # 14253; Doc. No. 709 at 55, 74, Page ID # 14959, 14978; Gov. Exs. 1003, 1004,
1009, 1213, 2821.) Obviously, if the gifts were truly given out of friendship, there would have been no
                                                     18
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extraordinary circumstance where the evidence preponderates heavily against the

verdict.” See United States v. Hughes, 505 F.3d 578, 592-93 (6th Cir. 2007) (internal

quotation and citation omitted).



                          b. The Gina Coppers Scheme

                 With respect to Count 9, the indictment charged that Dimora entered into a

conspiracy to defraud and deprive Cuyahoga County and its citizens of the right to the

honest services of Dimora, through bribery, by obtaining a position with the City of

Bedford, Ohio for Gina Coppers. Alternatively, the indictment charged Dimora with

conspiring to obtain money and property by means of materially false and fraudulent

pretenses, representations and promises. Both theories charged the use of the United

States mail to advance the conspiracy.

                 The elements of the substantive crime of mail fraud are: (1) an individual

identified in the count knowingly participated in a scheme to defraud; (2) that the scheme

involved a material misrepresentation or concealment of a material fact; (3) that the same

individual had the intent to defraud; and (4) an individual used the mails. Neder v. United

States, 527 U.S. 1, 20-25 (1999); United States v. Gold Unlimited, Inc., 177 F.3d 472,

488 (6th Cir. 1999); United States v. Frost, 125 F.3d 346, 358-59 (6th Cir. 1997); Sixth

Circuit Pattern Instruction 10.01. The elements of the substantive crime of honest service

mail fraud are: (1) an individual intended to defraud the county and its citizens of their

rights to the honest services of a public official through bribery or kickbacks; (2) an

individual identified in the count committed a material misrepresentation or concealment


reason for Dimora to attempt to make partial payments years after the free work was performed.
                                                   19
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of a material fact; (3) that the same individual intended to defraud the county and its

citizens; and (4) an individual used the mails. See generally Skilling, 130 S. Ct. 2896

(2010); see, e.g., United States v. Bruno, 661 F.3d 733, 743-44 (2d Cir. 2011). Thus, in

order for the government to obtain a conviction for conspiracy to commit mail fraud and

honest mail fraud, it was required to prove, beyond a reasonable doubt, that (1) two or

more persons conspired, or agreed, to commit mail fraud or honest services mail fraud;

and (2) that Dimora knowingly and voluntarily joined the conspiracy.

              Evidence offered at trial, including intercepted telephone conversations

between Dimora and Coppers, established that Coppers had sought Dimora‟s help in

obtaining a public position that would entitle her to accrue Ohio Public Employees

Retirement System (OPERS) credits. OPERS provided retirement, disability and survivor

benefit programs for public employees throughout the State of Ohio, and several

witnesses testified that these benefits were quite desirable. The evidence further

demonstrated that Dimora took steps to secure employment for Coppers with the Bedford

Municipal Court, including placing calls to Bedford Clerk of Courts Tom Day. In

exchange for this assistance, Coppers provided Dimora with a hotel room and sexual

favors.

              Dimora argues that the government failed to establish that material false

pretenses, representations or promises were made by any of the alleged co-conspirators.

He notes that there was no misrepresentation as to Coppers‟s experience or qualifications

for the position she was seeking. According to Dimora, the only possible omission—that

Dimora was romantically involved with Coppers—did not amount to a material

misrepresentation. The Court disagrees.
                                           20
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                “A material misrepresentation or omission is an element of honest

services . . . fraud, and in this context a misrepresentation or omission is „material‟ if it

„ha[s] the natural tendency to influence or [is] capable of influencing [the public at large

and such relevant decisionmakers as are members of the public to] change [their]

behavior.‟ ” United States v. Foxworth, 334 F. App‟x 363, 366 (2d Cir. 2009) (quoting

United States v. Rybicki, 354 F.3d 124, 147 (2d Cir. 2003) (alterations in original)).

Neither Dimora nor Coppers disclosed that Coppers provided Dimora with a hotel room

and sexual favors in exchange for his help in securing government employment. That a

recommender is receiving sexual favors in exchange for his recommendation would

certainly be a fact that would be capable of influencing a decisionmaker in evaluating the

weight to give such a recommendation.

                Dimora also claims that the government‟s evidence fell short of

establishing that Dimora, or any of his co-conspirators, intended to deprive any victim of

money or property. He underscores the fact that there “is no accusation that Mrs. Coppers

did not perform the work for which she was hired.” (Doc. No. 875 at 7-8, Page ID

# 18164-65.) There was, however, substantial evidence that the salary which Coppers

demanded, and which she was given upon her hiring, was nearly double the salary earned

by her predecessor. (See Gov. Ex. 956.) Recorded telephone conversations between

Dimora and Coppers, and between Dimora and Day and other public officials, established

that Coppers‟s salary was based upon Coppers‟s demands, which were conveyed by

Dimora, and not based upon the employer‟s needs.10 The fraud perpetrated on local


10
   On March 24, 2008, Dimora told Day that Coppers said, “She‟d like to be somewhere around 40
[$40,000 per year].” (Gov. Exs. 906 and 907.) On April 2, 2008, Coppers told Dimora that she made
                                                21
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government and its citizens harmed these victims because it deprived them of the monies

that could have been saved if Coppers had not been hired, or had been hired at a lower

salary.

                 Dimora next challenges the government‟s proof on the use of the United

States mail in furtherance of the conspiracy. Noting that Coppers mailed her OPERS

application after she had started working for the Bedford Courts, he argues that the

mailing occurred after the end of the alleged fraudulent scheme and was not in

furtherance of the charged conspiracy.

                 “To be part of the execution of the fraud . . . the use of the mails need not

be an essential element of the scheme. It is sufficient for the mailing to be incident to an

essential part of the scheme, or a step in [the] plot. ” Schmuck v. United States, 489 U.S.

705, 710 (1989) (internal citations and quotation marks omitted). The evidence offered at

trial established that it was one of the central goals of the conspiracy that Coppers obtain

public employment with OPERS benefits. State employees Kim Jaworski and Beverlon

Hodge both testified that the OPERS form must be completed, mailed and received in

Columbus before an employee participates in the OPERS program. Because a central

goal of the conspiracy could not be achieved before the OPERS application was mailed,

the mailing occurred during the course of the conspiracy.




$2,000 per month in her current position, and that she would not be able to take a job making $1,500 a
month. Dimora told Coppers that he would call Day, and informed her that they were “three quarters of the
way there so I‟m gonna make sure we get it.” He promised Coppers that he would try to get 85% to 90% of
her current salary and OPERS benefits. (Gov. Exs. 910 and 911.) In a subsequent call to Day, Dimora
further discussed Coppers‟s salary demands. (Gov. Ex. 924.)
                                                   22
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                 With respect to the honest services prong of Count 9, Dimora argues that

the government‟s evidence at trial failed to include any “official act.”11 He explains that

because he was not a public official in Bedford Heights, his efforts to assist Coppers in

securing employment with that government entity cannot be considered official acts. In

support of his position, he underscores the fact that he was not involved in the hiring

decisions and had “no duties, official or otherwise, related to Bedford Heights.” (Doc.

No. 875 at 9, Page ID # 18166.).

                 Witnesses, however, testified to the influence and power Dimora was able

to exert over the suburbs in Cuyahoga County. Paul Oyaski testified that cities in the

county competed for grant funds, with the commissioners making the final award. Mike

Dever testified that the commissioners controlled the contracts for new roads and bridges

that ran through the cities located within the county. Significantly, Frank Gambosi

testified that the commissioners controlled the funding for the Bedford Courts. In fact,

Gambosi testified that the commissioners voted to release money to fund the salary of

Tom Day, the decisionmaker who hired Coppers. (See Gov. Ex. 962.).

                 That Dimora, as one of three commissioners, exercised control over

matters involving the cities located within the county was also borne out by documents

produced at trial. The government introduced several “agenda actions” showing Dimora

voted to award county grants to Bedford, Bedford Heights and Solon; some of these

actions took place during the time period when Dimora was pushing for a job for

Coppers. (See Gov. Ex. 400-G.)


11
 The Court notes that Dimora was convicted under both theories offered in Count 9: conspiracy to commit
mail fraud and conspiracy to commit honest services fraud. (See Doc. No. 738, Dimora Verdict Forms.) To
                                                   23
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                 Substantial evidence demonstrated that Dimora exercised control over

financial matters that affected cities located in Cuyahoga County, including Bedford.

This evidence was sufficient to establish that he performed official acts during the

conspiracy. The Court cannot, therefore, find that the jury‟s verdict was against the

manifest weight of the evidence.




warrant a new trial on this Count, the Court would have to determine that the interests of justice demanded
a new trial under both theories.
                                                    24
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                  2. The Court’s Jury Instruction Properly Defined “Official Act”12

                  In a related argument, defendant Dimora maintains that the Court erred in

defining the term “official act” for purposes of the bribery and extortion counts. In its

instructions, the Court charged the jury that:

         The term "official act" includes any decision or action on any question,
         matter, cause, suit, proceeding or controversy, which may at any time be
         pending, or which may by law be brought before any public official, in
         such official's official capacity, or in such official's place of trust or profit.
         Official acts include the decisions or actions generally expected of the
         public official. In addition, "official action" includes the exercise of both
         formal official influence (such as a public official‟s votes) and informal
         official influence (such as a public official‟s influence on other public
         officials). The term “official act” does not include actions taken in a
         personal or non-official capacity, such as actions taken as a political party
         leader.

(Doc. No. 735-1 at 23-4, Page ID # 16988-89.) Dimora contends that the definition is


12
   Regarding the jury instruction drafting process, Dimora‟s statement that “electronic correspondence . . .
was the vehicle by which the parties and the Court communicated throughout the drafting of the jury
instructions” is somewhat misleading. (Doc. No. 875 at 11, Page ID # 18168.) Email was not the vehicle
used but rather only a vehicle. But even that clarification might overstate the importance of email: The
lion‟s share of jury instruction discussions were conducted in person. The importance of email
communication did grow late in the drafting process, but this was in part because Dimora sent an untimely,
eleventh-hour request for changes to the jury instructions electronically.
          The Court‟s amended trial order required the parties to submit proposed jury instructions to the
Court by December 12, 201l, including those “instructions proposed by defendants but opposed by
plaintiffs.” (Doc. No. 329 at 7, Page ID # 3063.) Though the way in which the submitted instructions were
to be organized was ultimately changed at the request of the government (see Doc. No. 557 and 12/5/2011
non-document order), the deadline remained unaltered. The proposed jury instructions submitted to the
Court by that deadline included all of the instructions proposed by the government as well as a number of
general objections made by Dimora (as well as co-defendant Gabor) to various portions of those
instructions. What they did not include were any alternative instructions proposed by Dimora. (See Joint
Proposed Jury Instructions, Doc. No. 566 at 146, Page ID # 12052 (“Defendant Dimora will propose
additional instructions at a later date when they are complete.”).) In fact, Dimora did not propose any
written alternative jury instructions until February 17, 2012. (See Doc. No. 665.)
          After significant edits were made to the submitted instructions, Court drafts were circulated to all
parties and a two-day, in-person charging conference was held to discuss any further alterations to the
instructions. It was not until after this that Dimora proposed further alternative instructions, via email on
Sunday, February 26, 2012. He formally filed proposed instructions later that day. (See Doc. No. 696.)
Despite the late-in-the-game nature of these proposals, the Court gave them due consideration Sunday
evening and incorporated some into its final instructions. (The same was true for other untimely motions
and proposed instructions submitted or filed by Dimora throughout the pendency of the case. Recognizing
the complexity of the case, the Court took care to give thoughtful consideration to motions and requests
                                                       25
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unduly expansive, and permitted the jury to convict for seemingly minor and insignificant

acts. While Dimora does not state which part of the charge he is challenging, because he

advocated for the first and last sentences, it is presumed that he challenges the second and

third sentences.

                  The Court‟s instruction represented an accurate statement of the law. In

United States v. Birdsall, 233 U.S. 223, 231 (1914), the Supreme Court held that the acts

reached by the federal bribery statute—the current version codified at 18 U.S.C. § 201—

extended beyond those that were “prescribed by a written rule.” Instead, official action

can also include actions of a public official taken by settled practice and established

usage. Id.; see United States v. Urciuoli, 513 F.3d 290, 294 (1st Cir. 2008) (honest

services fraud statute prohibits both formal and informal official actions such as informal

exercise on bills by legislators and influence-buying short of formal bribes); United

States v. Freeman, 6 F.3d 586, 593 (9th Cir. 1993) (“[T]he Hobbs Act reaches anyone

who actually exercises official powers, regardless of whether those powers were

conferred by election, appointment, or some other method.”); see also United States v.

Seminerio, S1 08 Cr. 1238 (NRB), 2010 U.S. Dist. LEXIS 92881, at *18 (S.D.N.Y. Aug.

20, 2010) (“The quid pro quo element of bribery may be satisfied where the payments are

made to an official „to obtain his assistance as a public official in securing favorable

action from other public officials, [i.e., where the recipient official] expected to be

influenced by the payment to render such assistance.‟ ” (quoting United States v. Biaggi,

909 F.2d 662, 683 (2d Cir. 1990))); United States v. Carter, 530 F.3d 565, 574 (7th Cir.



whenever presented.) A hearing was held the following day (Monday, February 27, 2012), during which
counsel were permitted to place any objections to the final version of the Court‟s instructions on the record.
                                                     26
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2008) (the official act need not fall within the specified duties of his position, “[s]o long

as the motivation for the payment focuses on the recipient‟s office” (internal quotation

and citation omitted)); United States v. Bibby, 752 F.2d 1116, 1127 (6th Cir. 1985)

(same).

               Moreover, it is well settled that “official acts” are not limited to those acts

performed pursuant to the public official‟s actual power. It is enough that the person for

whom the acts are performed has a reasonable expectation that the public official had that

power. See Carter, 530 F.3d at 574-75 (sufficient that victim reasonably believed that the

defendant public official could deliver on his promise); United States v. Rivera-Rangel,

396 F.3d 476, 485 (1st Cir. 2005) (“[I]t is irrelevant that Rivera lacked (and that Ventura

knew she lacked) the ultimate authority to issue permits or otherwise affect his

government business; Rivera, in her official capacity, had the power to facilitate

Ventura‟s government business, and it was that power that Ventura paid her to

exercise.”); United States v. Farley, 2 F.3d 645, 651 n.3 (6th Cir. 1993) (sale of

nonexistent honorary deputy sheriff commissions constituted official acts); United States

v. Loftus, 992 F.2d 793, 796 (8th Cir. 1993) (“Actual authority over the end result—

rezoning—is not controlling if Loftus, through his official position, had influence and

authority over a means to that end.”).

               The Fourth Circuit recently upheld an instruction on “official acts” that

was substantially similar to the instruction with which Dimora now takes issue. In the

Fourth Circuit case, a congressman was charged with federal bribery under 18 U.S.C.

§ 201. The official acts in question involved the defendant‟s efforts to obtain business

assistance for certain business ventures by “exerting his influence as a Member of
                                             27
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Congress on various U.S. and African government officials and agencies, including, inter

alia, the Nigerian government . . . .” United States v. Jefferson, 634 F. Supp. 2d 595, 597

(E.D. Va. 2008). On appeal, the court upheld the district court‟s definition of “official

acts,” which provided that an official action need not be an activity that was explicitly

assigned by law, but included activities established by settled practice. The court found

that the instruction properly informed the jury that “an official act need not be prescribed

by statute, but rather may include acts that a congressman customarily performs, even if

the act falls outside the formal legislative process.”13 United States v. Jefferson, 674 F.3d

332, 357 (4th Cir. 2012).

                 The evidence offered at trial demonstrated the power of the county

commissioners, not only as to legislative and voting matters, but also as to other activities

over which they had considerable influence by virtue of the office. (Gov. Ex. 173.) The

charge given represented an accurate statement of the law, and was properly given, in

light of the nature of the charges and the evidence offered at trial. Defendant Dimora is

not entitled to a new trial on the basis of the Court‟s jury instructions.



                 3. The Court Properly Supplemented its Instructions

                 After the jury had retired to deliberate, and after the Court had instructed

the jury on the law, but early in the deliberative process, the jury sent the Court a note

requesting a definition of “interstate/foreign commerce.” (Doc. No. 750, Page ID


13
  At trial, defendant Dimora relied on United States v. Sun-Diamond Growers, 526 U.S. 398 (1999) and
Valdes v. United States, 475 F.3d 1319 (DC Cir. 2007) to advance a more restrictive definition of “official
acts” for bribery. The Fourth Circuit rejected the argument that these cases required a more limited
definition of official act. Jefferson, 674 F.3d at 351-54. See Abbey, 560 F.3d at 521 (“Sun-Diamond,
however, is not germane” as a “heightened quid pro quo standard is inapplicable to both the Hobbs Act and
                                                    28
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# 17274.) Upon review, the Court determined that it had inadvertently failed to include a

definition for the term for purposes of the Hobbs Act and wire fraud counts.14

                 After consulting with counsel, the Court instructed the jury that, in the

context of the counts relating to the Hobbs Act:

        Interstate commerce means trade, business or travel between one state of
        the United States and another state, including the District of Columbia.
        Foreign commerce means trade, business or travel between any part of the
        United States and any other country.[15]

With respect to wire fraud and honest services wire fraud, the Court instructed:

        The term “interstate or foreign commerce” includes wire, radio or
        television communications which crossed a state line.[16]

Following receipt of this supplemental instruction, the jury returned to its deliberations.

                 Dimora does not contend that these supplemental instructions were

inaccurate, or that they were contrary to existing law. Instead, he maintains that, having

failed to include these definitions in the initial jury instructions provided by the Court, the

only remedy was to declare a mistrial. His conclusion is incorrect.

                 In United States v. Fisher, the Sixth Circuit held that “[w]here there is

evidence that the jury is confused over an important legal issue that was not covered by

the original jury instructions, a district court abuses its discretion by not clarifying the

issue.” 648 F.3d 442, 447 (6th Cir. 2011) (citing United States v. Nunez, 889 F.2d 1564,

1567-69 (6th Cir. 1989) (emphasis added)). Here, the jury was clearly confused by the

absence of a definition for the term “interstate/foreign commerce,” and the Court did


18 U.S.C. § 666.”).
14
   The defense stipulated to the interstate commerce element for purposes of the RICO conspiracy.
15
   See 18 U.S.C. § 1951(b)(3); Eleventh Circuit Pattern Instruction 70.0; United States v. Chance, 306 F.3d
356, 373-78 (6th Cir. 2000); United States v. Turner, 272 F.3d 380, 384-88 (6th Cir. 2001).
16
   Sixth Circuit Pattern Instruction § 10.02(2)(G).
                                                     29
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nothing more than address the confusion by clarifying its instructions. See United States

v. Brown, 54 F. App‟x 201, 210 (6th Cir. 2002) (“When a jury seeks clarification of

particular issues . . . the judge should clear away its difficulties „with concrete

accuracy.‟ ” (quoting Bollenbach v. United States, 326 U.S. 607, 612-13 (1946))); cf.

Nunez, 889 F.2d at 1567-69 (trial court erred in failing to provide a supplemental jury

instruction where the original instruction did not address a key legal issue, and the jury

expressed confusion). In answering the jury‟s question, the Court did not “stray[] beyond

the purpose of jury instructions by answering jury questions that seek collateral or

inappropriate advice.” Fisher, 648 F.3d at 447 (citing United States v. Combs, 33 F.3d

667, 670 (6th Cir. 1994)); see United States v. Rowan, 518 F.2d 685, 693 (6th Cir.) (“In

response to a jury‟s question after it has begun to deliberate . . . a trial judge may and

should make clear the law the jury is bound to apply, though it is not his province to

advise the jury of collateral aspects of its decision.”), cert. denied, Jackson v. United

States, 423 U.S. 949 (1975). The Court‟s jury instructions, including its supplemental

instructions, were appropriate, and do not provide grounds for a new trial.



               4. All Evidence Seized from Dimora’s Residence and Office was
                  Legally Obtained

               In pretrial motions, defendant Dimora sought to suppress all evidence

seized during the July 2008 searches of his home and office owing to what he perceived

as insufficiencies in the warrants and the affidavits offered in support of the search

warrants. (Doc. No. 422.) The Court denied the motion in a comprehensive opinion and

order dated December 28, 2011. (Doc. No. 592.) Dimora, again, challenges the admission

                                            30
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of evidence seized during the aforementioned searches, raising the same arguments that

this Court previously considered and rejected. Consequently, the Court, again, rejects

these arguments, and relies upon its previously ruling. (See Doc. No. 592 at 2-24, Page

ID # 12554-76.)



               5. The Court Provided Dimora Sufficient Opportunity to Present a
                  Defense

               Near the end of the trial, defendant Dimora filed a motion for an order

requiring the government to produce hard drives owned by government witness Steve

Pumper, and allegedly seized by the FBI. (Doc. No. 695.) During his testimony, Pumper

stated that he kept a Quicken database and several financial programs on numerous

computers. He testified that, after he was approached by the FBI on May 23, 2008, he

attempted to delete these items from his computers, before dumping one computer in

Lake Erie and throwing another computer in a dumpster. He further testified that when he

deleted the information from his laptop, he transferred it to a flash drive so that he could

reconstruct his financial records. According to Pumper, his efforts to purge these files

from his computers were only partially successfully, as a fragment of one file remained.

This fragment included a spreadsheet, introduced as government exhibit 1831, which

showed a $2,000 payment to defendant Dimora. Defense counsel cross-examined Pumper

at length on this exhibit and his attempts to destroy evidence. Counsel was also given

wide latitude to explore bias on cross, including such topics as: Pumper‟s plea agreement,

his belief regarding the type of sentence he could have received had he not entered into a

plea and cooperated with the government, and his drinking problem.

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                  More than two weeks after Pumper completed his testimony, and after

the government rested, Dimora moved to compel the production of the Pumper hard

drives still in existence.17 In his motion, filed February 24, 2012, Dimora postulated that

Pumper‟s testimony that he attempted to delete entire Quicken accounts with only a small

fragment remaining lacked plausibility. Inspection of the remaining hard drives, Dimora

claimed, would enable the defense to further challenge Pumper‟s credibility. Attached to

the motion was the affidavit of Damon Hacker, a defense expert, who opined that

“[a]ccess to the hard drives still in existence would provide the information necessary to

determine whether a series of payments were made to Mr. Dimora.” (D. Hacker

Affidavit, Doc. No. 695-1 at 2, Page ID # 13764.)

                 In order to place defendant Dimora‟s request in the proper context, it is

necessary to review the series of events leading up to defense counsel‟s filing of the

motion to compel, and the Court‟s ultimate denial of this untimely motion. On February

22, 2011, the government produced its discovery to defendant Dimora. An itemized list

of material not included in discovery but available for review accompanied the

disclosure. This list specifically identified the flash drive, which contained the

spreadsheet that became government exhibit 1831, from Pumper‟s residence as available

for review. While defense counsel met with FBI Special Agents Michael Massie and




17
  The formal motion was filed on February 24, 2012. Dimora‟s counsel first brought this issue to the
Court‟s attention on February 21, 2012 at a side bar conference. (See Doc. No. 875-3, Page ID # 18204.)

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Christine Oliver on October 20, 2011 to discuss certain bulky items identified on the list,

counsel did not ask to review Pumper‟s flash drive.

               On December 16, 2011, the government delivered copies of its trial

exhibits to Dimora‟s counsel. Included in these exhibits was government exhibit 1831.

On January 12, 2012, the jury was sworn, and the government produced the remaining

FBI 302 summaries that had not previously been disclosed. Included in this production

were the summaries of interviews with Pumper in which he discussed the various

computers he owned, his efforts to delete information from these computers, and the

destruction of two of these computers. Pumper‟s testimony began on February 7, 2012,

and concluded on February 9, 2012. On direct, he gave testimony as to his efforts to

destroy any evidence of payments to Dimora, and how the spreadsheet containing the one

$2,000 payment to Dimora survived. As previously noted, Pumper was cross-examined,

at length, regarding government exhibit 1831.

               On February 16, 2012, at a side bar conference, defense counsel asked the

Court for an order compelling the government to produce the flash drive. The Court

directed the government to immediately investigate whether the flash drive could be

imaged. In the interim, on February 20, 2012, Dimora moved for a two day recess of the

trial “so that witnesses can be scheduled and Mr. Dimora be permitted to present his case




                                            33
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in chief.”18 (Doc. No. 676 at 2, Page ID # 13737.) The motion made no reference to any

discovery issues involving Pumper or his computer hard drives. The following day

(February 21, 2012), the Court ordered the government to produce the flash drive image,

and the government produced it by the end of the day.

                  It was not until a late night telephonic conference call with counsel on

February 23, 2012 that defense counsel raised, for the first time, their desire to have a

previously unidentified expert view multiple hard drives from computers owned by

Pumper. The Court adjourned testimony on February 24, 2012 in order to conduct a

hearing on this discovery request. At the conclusion of the hearing, the Court determined

that it would not (and in the case of at least two of the hard drives, could not19) compel

the government to produce the requested hard drives.

                  The Court placed on the record its reasons for denying Dimora‟s discovery

request. At the outset, the Court found that the request was untimely. Defense counsel

knew as early as the start of trial in January when it received Pumper‟s 302 summaries

that he had attempted to destroy evidence after the FBI approached him. Yet counsel

chose to wait until two weeks after Pumper had concluded his testimony to seek the hard

drives. In addition, the Court determined that the request was nothing more than a fishing


18
   While Dimora claimed that this motion was precipitated by the fact that the government had
unexpectedly ended its case a couple of weeks early, the reality is that defense counsel benefitted from the
government‟s early conclusion of its case-in-chief. Testimony in the government‟s case-in-chief concluded
Thursday, February 16, 2012. Due to a protracted hearing relative to the admission of exhibits, the
government was unable to rest until Friday, February 17, 2012. (The protracted nature of the hearing was
the result of Dimora positing largely unsuccessful challenges to the admission of numerous government
exhibits.) The trial did not resume until Tuesday, February 21, 2012, due to the intervening federal holiday.
Defense counsel thus had the option of using the long weekend for further preparation—a benefit which
they would not have enjoyed had the government rested at a later date.
19
   Dimora requested that the Court order the government to turn over three hard drives, two of which were
not even in the government‟s possession. Even regarding the hard drive in the government‟s possession,
Dimora sought access to files which were beyond the scope of the government‟s warrant to access the
                                                     34
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expedition, noting that Dimora‟s expert could not say that any information that was not

already on the flash drive would exist on the hard drives.20 While the expert testified that

there was evidence that the remaining files had been updated after the date the flash drive

was created, he admitted that the Quicken program contained an automatic update feature

that could account for those updates. Further, the request to view all information on the

sole hard drive in the possession of the government was overly broad as it went well

beyond the scope of the search warrant under which the government seized Pumper‟s

laptop.21 Balanced against the remote chance that the discovery would yield impeachment

material was the fact that the discovery would result in another unnecessary delay in the

proceedings.22 (Doc. No. 894 at 59-65, Page ID # 18524-30.)

                  A number of rules and principles guided the Court‟s determination of this

eleventh-hour discovery request. The Court began with the discretion it is afforded over

the administration of discovery in a criminal case. Rule 16(d) of the Federal Rules of


drive.
20
   Defendant‟s expert spoke only in terms of guesses and possibilities. Damon testified that: “there‟s at least
one, if not two locations that may still be in existence.” He further testified that “there may have been other
copies . . . ,” and that “analyzing the laptop and/or other devices that may exist could provide further
evidence . . . .” (Doc. No. 894 at 7-8, Page ID # 18472-73 (emphasis added).)
21
    At the hearing, and at the telephone conference that preceded the hearing, the Court attempted to
determine whether it would be possible to image portions of the hard drive without exceeding the scope of
the search warrant. Defense counsel, however, foreclosed this possibility by refusing to permit Dimora‟s
expert to speak with the FBI computer forensic expert to determine if such middle ground could be found.
22
   The Court explained that defendants had engaged in a pattern of dilatory behavior. After the Court had
granted, as requested by defense counsel, two generous pre-trial extensions in this matter (but refused to
grant a third, multi-month extension when it ruled that it would not consolidate this matter with a second,
more recently filed action against Dimora), counsel for Dimora sought to further delay the proceedings by
filing an unwarranted notice of appeal (Doc. No. 603) and by seeking a writ of prohibition from the Court
of Appeals. While the Sixth Circuit acted swiftly to deny the writ, the start of the trial was delayed
nonetheless by several days. These delay tactics culminated in defense counsel requesting a two day recess
in the middle of the trial, and refusing to produce more than one or two brief witnesses per day during
defendant Dimora‟s case-in-chief. The end result was that what should have been one-and-one-half days of
testimony took a week to introduce. In the end, then, Dimora‟s counsel actually received even more time to
prepare than the two days they had requested. Permitting the defense to start from scratch with discovery
on this topic would have added further unwarranted and unnecessary delay to the proceedings.

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Criminal Procedure provides that “[a]t any time the court may, for good cause, deny,

restrict, or defer discovery or inspection, or grant other appropriate relief.” Fed. R. Crim.

P. 16(d). Likewise, Rule 611(a) of the Federal Rules of Evidence provides, in relevant

part that, “The court should exercise reasonable control over the mode and order of

examining witnesses and presenting evidence so as to . . . avoid wasting time.” Fed. R.

Evid. 611(a)(2). Finally, Rule 403 permits a court to exclude relevant evidence “if its

probative value is substantially outweighed by a danger of one or more of the following:

unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

                 With respect to the question of timeliness, Dimora now argues that his

counsel was not dilatory in seeking this discovery, citing the extensive discovery

produced by the government and the fact that the decision had to be made during trial. He

also claims that it was not apparent until Pumper testified that the hard drives might

contain additional information, and that, once Pumper‟s testimony did raise a red flag,

counsel worked diligently to inquire into possible defense strategies. Yet Dimora‟s expert

witness testified that he was not even retained until 48 hours before the Court held a

hearing on the matter. (Doc. No. 894, Page ID # 18495.) At a minimum, the request

should have been made immediately after Pumper testified and the need for such

discovery became apparent.23 Dimora having failed to make the request then, the Court




23
  Because the Court finds that Dimora‟s request was untimely as of February 9, 2012, the date that Pumper
concluded his testimony, it is not necessary for the Court to consider the earlier-produced FBI 302
summaries of Pumper‟s interviews. It, therefore, denies Dimora‟s request to file the 302s under seal.
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again finds that the request was untimely.

               Ultimately, the Court finds that Dimora has not demonstrated that the

interests of justice warrant a new trial. The Court exercised its discretion to restrict

discovery to avoid further delays where the untimely discovery request was unlikely to

yield discoverable information. That the document in question was only one of hundreds

of documents offered at trial, that it went solely to the issue of credibility of one witness,

that defense counsel cross-examined Pumper on the document at length, and that

defendants were otherwise afforded considerable latitude in exploring Pumper‟s biases all

weighed heavily against allowing such discovery.




               6. The Court Properly Excluded Financial Disclosure Forms

               The Court finds it necessary to write on one final evidentiary issue in

order to more fully preserve its ruling at trial. In a pretrial motion in limine, the

government moved to prevent defendant Dimora from introducing evidence of ethical

rules that govern public officials in the State of Ohio. (See Doc. No. 532.) Dimora

opposed the motion, suggesting that he might “touch upon” certain ethics and reporting

requirements by offering the financial disclosure forms that he submitted to the Ohio

Ethics Commission. Because Dimora failed to identify either the purpose for offering the

forms, or the manner and means in which these documents would be offered, the Court

ruled that defense counsel should approach the Court before offering such evidence at




                                             37
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trial.24 (Doc. No. 602 at 40-41, Page ID # 12711-12.)

                 In response to the Court‟s in limine ruling, and without citing any

supporting authority, Dimora filed a supplement explaining his theory for offering the

financial disclosure forms:

        Just as the Government will argue that any attempt to conceal things of
        value from the alleged co-conspirators is evidence of criminal intent, Mr.
        Dimora should be able to argue that the disclosure of things of value is
        relevant to refuting intent.

(Doc. No. 629 at 3, Page ID # 12922.) The government opposed any effort to introduce

these documents.

                 The Court addressed the issues raised by the possible introduction of this

evidence on multiple occasions throughout the trial. In a telephone conference on January

11, 2012, the Court expressed its concern that Dimora‟s statements contained within the

forms could be hearsay, and advised defense counsel that the forms must be admitted

through a competent witness. In addition, because the FBI case agents who testified at

trial had no personal knowledge of these forms, the Court held that Dimora could not

introduce the forms through these witnesses. The following day (January 12, 2012, the

first day of jury selection), the Court (at defense counsel‟s request) revisited its ruling

with counsel at sidebar. Because defense counsel represented that there might be

circumstances under which a government agent may be able to testify as to the financial

disclosure forms, the Court revised its ruling to permit the defense to offer the disclosure

forms through any competent witness, but held that counsel should approach the Court

24
  The Court also ruled, however, that defendant Dimora would be permitted to offer evidence that the
meals and other things of value Dimora received from contractors were given out of friendship, and were
not given in exchange for official action. The “friendship” theory represented the heart and soul of
Dimora‟s defense. (See Doc. No. 602 at 40, Page ID # 12711.)
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first before attempting to lay a foundation for the introduction of these documents. See

Fed. R. Evid. 611(a).

                 Defense counsel did not attempt to offer the disclosure forms through any

government witness, and did not raise the issue again until after the government rested.

During defendant Dimora‟s case-in-chief, defense counsel approached the Court and

proposed that defendant Dimora would offer the financial disclosure forms through a

representative of the Ohio Ethics Commission, who would be called for the sole purpose

of authenticating the forms.25 The government opposed the proffer on the ground that the

statements contained in the disclosure forms were hearsay, and that the state ethics

representative had no personal knowledge about the content of the forms.

                 Defense counsel insisted, however, that the statements were not

inadmissible as hearsay because they were not being offered for the truth of the matter

asserted. “Instead, they demonstrate Mr. Dimora‟s willingness to disclose the names of

individuals included in the reports.” (Doc. No. 681 at 2, Page ID # 13744.) The Court

conducted a hearing on this and other evidentiary matters on February 24, 2012. During

the hearing, defense counsel reiterated its position that the statements contained in the

disclosure forms were not hearsay. (Doc. No. 894 at 75, Page ID # 18540.) At the

conclusion of the hearing, the Court ruled that the statements were hearsay, and that the

testimony of the Ohio Ethics Commission representative, which would have been limited

to the issue of authenticity, would not cure the hearsay. While it still did not rule out the



25
   In connection with this request, Dimora also filed a motion to admit the financial disclosure forms. (Doc
No. 681.) In this motion, Dimora stated that “[t]hese financial disclosure forms are being offered to refute
the Government‟s continuous claims that Mr. Dimora and others intended to hide their associations.” (Id. at
1, Page ID # 13743.)
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possibility that a competent witness might cure the hearsay problem, it further offered its

concern that the admission of the forms would likely confuse the jury. (Id. at 78-79, Page

ID # 18543-44.)

               With respect to the question of hearsay, the Court found guidance in the

Sixth Circuit‟s decision in United States v. Hatchett, 918 F.2d 631 (6th Cir. 1990). There,

the defendant, who did not testify at trial, was charged with four misdemeanor counts of

willful failure to pay federal income taxes. In support of his advice-of-counsel defense,

the defendant attempted to offer the testimony of his tax counsel, who would testify about

the conversations he had with the defendant and the advice counsel gave the defendant

regarding his tax troubles. On appeal, Hatchett argued that the statements he made to his

tax attorney were “not offered to prove the truth of the content of Hatchett‟s statements

about his tax situation, but rather to prove that Hatchett made a full disclosure of all

pertinent facts to [his tax legal advisor].” Id. at 638. The court cited with favor the district

court‟s ruling that

       although attorney Gettleson‟s testimony may have been admissible for the
       limited purpose of showing defendant made a disclosure, it was not
       admissible to prove the facts constituting the disclosure. The advise [sic]
       of counsel defense requires not only evidence of disclosure, but also
       evidence that the facts disclosed are relevant . . . . The relevance of the
       facts disclosed could only have been determined had the jury considered
       as truthful the out-of-court statement which attorney Gettleson was asked
       to recite.

Id. (emphasis added by the Sixth Circuit). Because the testimony was “offered to prove

the truth of Hatchett‟s out-of-court disclosures, and in the absence of a proffer by

Hatchett‟s counsel of other evidence that could prove the truth of the disclosures,” the

Sixth Circuit ruled that the trial court properly excluded the proffered testimony. Id.

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                 Similarly here, in order to show “Mr. Dimora‟s willingness to disclose”

his relationship with contractors and certain alleged co-conspirators, it would have been

necessary to offer more than evidence that he filed disclosure forms, but also the facts

disclosed (i.e., that he had received things of value from contractors and co-conspirators

and had not received other things of value not listed on the forms). Without some

evidence to prove the truth of the disclosures, the testimony would have been rank

hearsay.26

                 While making no final determination on the admissibility of such evidence

through a competent witness, the Court also expressed its concern that such evidence

would likely cause confusion, requiring a mini-trial on the disclosure laws governing

elected officials in the State of Ohio. (Doc. No. 894 at 84-86, Page ID # 18549-51.) The

Court now expounds upon this conclusion.

                 As the Court noted in its initial in limine ruling, any evidence relating to

financial disclosures would likely open the door to evidence of ethics reporting

requirements. The government indicated that, if Dimora offered the disclosure forms, it

would seek to offer testimony from the Director of the Ohio Ethics Commission on the



26
  Of course, the circumstances surrounding Dimora‟s motion to admit are distinguishable from pre-Skilling
cases where courts have held that financial disclosure forms were admissible to demonstrate a failure to
disclose financial relationships because such evidence showed intent to conceal. See, e.g., United States v.
Harvey, 532 F.3d 326, 334 (4th Cir. 2008); United States v. Woodward, 149 F.3d 46, 62-63 (1st Cir. 1998).
There were no hearsay concerns in those cases inasmuch as the failure to report was a fact and not an out-
of-court statement. Of course had these forms been treated as out-of-court statements of the defendant, they
would have been admissible under Rule 801(d)(2). However, while Rule 801(d)(2) permits the introduction
of a defendant‟s statements as non-hearsay admissions of a party opponent, “[t]he rules [of evidence] do
not . . . provide an exception for self-serving, exculpatory statements made by a party which are being
sought for admission by that same party.” United States v. Wilkerson, 84 F.3d 692, 696 (4th Cir. 1996); see
United States v. McDaniel, 398 F.3d 540, 545 (6th Cir. 2005) (emphasis in original) (“Rule 802(d)(2) . . .
does not extend to a party‟s attempt to introduce his or her own statements through the testimony of other
witnesses.”).
                                                     41
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laws relating to financial disclosures, in an effort to show that Dimora did not satisfy his

reporting requirements.27 Indeed, the focus of the trial would have shifted from the

charges against the defendants to the rules, regulations, and penalties surrounding Ohio

disclosure laws, and how these laws differed from criminal laws relating to fraud and

conspiracy.

                 A review of Dimora‟s disclosure forms illustrates the point. Question No.

3 on the form directed the elected official to report “any source of payment of expenses

for meals, food or beverages, received in connection with your official duties . . . .” (Def.

Dimora‟s Ex. F3 (emphasis added).) While Dimora claims that the fact that he listed the

names of certain co-conspirators in response to Question No. 3 is evidence of his

willingness to reveal these connections, the fact remains that free dinners and other things

of value offered by contractors seeking county projects would not have been expenses

legitimately received “in connection with [Dimora‟s] official duties.” Not only would

such a disclosure have to be explained in the context of the law relating to the duties of a

Commissioner, it would also have had the effect of implicating Dimora in wrongdoing by

virtue of his arguably inappropriate disclosure. The only possible result would have been

a thoroughly confused jury.

                 A further source of confusion would have been the fact that instructions

contained in the forms themselves appear to provide the Ohio Ethics Commission‟s

endorsement of the disclosure process and of the forms completed by any public official.



27
  Specifically, government counsel proffered that the director would testify that all income from any
source, including the value of meals purchased for a public official, had to be reported as income. The
government would have then argued that, while Dimora‟s disclosure forms listed certain items as
“expenses,” he did not report these “expenses” under the “income” section of the forms.
                                                    42
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In the instructions portion of certain forms, it explains that:

       Filing a financial disclosure statement is required by law. Disclosure
       assists public servants in positions of public trust with identifying potential
       conflicts of interest between their public responsibilities and private
       pursuits. Disclosure also increases public awareness of potential conflicts
       and reassures Ohio citizens in the integrity of government. Please note that
       disclosure itself does not constitute compliance; it does not replace Ethics
       Law restrictions on public transactions or improper gifts.

(Emphasis added). While the statement warns that disclosure does not equate with

compliance, it suggests that disclosure equates with transparency. In doing so, such a

statement would have the effect of usurping the jury‟s province, by suggesting that the

Ohio Ethics Commission had already determined that Dimora, by virtue of his disclosure,

lacked the intent to conceal the fraud.

               A final concern is the fact that the statements are made under penalty of

perjury. That these sworn statements are not subject to cross-examination would confuse

the jury as to the weight to give these untested statements, and unfairly prejudice the

government. Balanced against these serious concerns of prejudice and confusion is the

reality that the evidence would have been of limited probative value inasmuch as the

government‟s own case established that Dimora did not hide his associations with his co-

conspirators. The evidence offered at trial demonstrated that Dimora was, in fact, often

seen in public dining with contractors who were seeking county work. Ultimately, any

limited probative value would have been “substantially outweighed by . . . unfair

prejudice, confusing the issues, [and] misleading the jury . . . .” Fed. R. Evid. 403.



               7. Defendant Dimora’s Request to Modify the Protective Order

               Dimora also seeks an order modifying the protective order as it relates to
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Jencks Act and Giglio material provided to trial counsel prior to and during trial. (Doc.

No. 782.) Specifically, Dimora requests that his counsel be permitted to retain Jencks Act

and Giglio discovery, and that his appellate counsel be allowed access to this evidence.

The government opposes the motion. (Doc. No. 859.).

               The protective order that governs this case provides, in relevant part:

       At the conclusion of trial, lead counsel shall either (1) return all of the
       material in a sealed envelope for destruction by the FBI in the presence of
       defense counsel; (2) destroy the material in the presence of the FBI; or (3)
       provide the Government with a written certification that original and all
       copies have been destroyed. The Government shall file under seal an
       electronic version of all material produced under this order to the Court.

(Doc. No. 588 at ¶ 5, Page ID # 12524.) Counsel for each defendant advised the

government that they would retain the documents until post-trial motion practice was

completed, and the government appears to have consented to this “request.”

               In support of his motion, Dimora argues that his appellate counsel will

need access to this material because the issue of the timing of production of this evidence

will be raised on appeal. He posits that “the content of the documents, read in conjunction

with the testimony of various witnesses, will be essential to establishing whether there

was a prejudicial effect with regard to the timing of the release of the documents.” (Doc.

No. 782 at 2, Page ID # 17630.) As a second basis, he claims that the material in question

will be used in a second trial (Case No. 1:11CR491), and it would be wasteful and

unnecessary to require him to copy the material twice.

               The second justification for his request, the need to prepare for a

subsequent trial, is moot because defendant Dimora was recently dismissed from case

number 1:11CR491. As to the first rationale, the government insists that Dimora‟s post-

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trial needs are outweighed by the government‟s “interest in preserving ongoing criminal

investigations and protecting the privacy of uncharged individuals.” (Doc. No. 859 at 2,

Page ID # 17999.).

               Now that the Court has ruled on post-trial motions, the Court agrees that

the government‟s need to protect its on-going investigations substantially outweighs

Dimora‟s need to retain this information. As the government notes, the protective order

requires the government to preserve this discovery electronically and file it with the

Court, under seal. Should appellate counsel need access to this electronically saved

information, it can petition the Court for access. Dimora‟s motion to modify the

protective order is denied.



IV. Conclusion

               Viewing the evidence in a light most favorable to the government, a

rational juror could have found, beyond a reasonable doubt, the essential elements of

each crime for which Dimora was convicted. As such, with the exception of Count 10 as

set forth above, defendant Dimora is not entitled to a judgment of acquittal. In addition,

the guilty verdicts are not against the manifest weight of the evidence, taking into

consideration the nature and the strength of all of the evidence and the credibility of the

witnesses, and justice does not otherwise require a new trial. His motion for a judgment




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of acquittal is denied, with the exception that the Court hereby dismisses Count 10.

Dimora‟s motion for a new trial is denied in its entirety.

               IT IS SO ORDERED.


Dated: July 18, 2012
                                                  HONORABLE SARA LIOI
                                                  UNITED STATES DISTRICT JUDGE




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